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                  Share of App Developer Revenue (User Spend on Digital Goods) By Monetization Type


100%

 90%

 80%

 70%

 60%

 50%

 40%

 30%

 20%

 10%

  0%



                        Paid Download                                In-App Purchases                                In-App Subscriptions

Notes:
[1] App developer revenues include worldwide app developer revenues (excluding China) from initial download fees, in-app purchases, and in-app subscriptions. App
developer revenues are obtained by adding app developer revenues net of Google’s service fees and Google revenues, and are thus equivalent to user spend.
[2] The “Share of App Developer Revenues” is the given monetization type revenues as a share of total app developer revenues. Revenue comprises user spend on all
apps in Google Play.

Sources: “Google Revenue by App Category,” GOOG-PLAY-010801685.R; “Developer Revenue by App Category,” GOOG-PLAY-
010801686.R.




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